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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  COMMITTEE ON OVERSIGHT AND
    REFORM, UNITED STATES HOUSE
    OF REPRESENTATIVES,

                                Plaintiff,

        v.                                                No. 19-cv-3557 (RDM)

  WILLIAM P. BARR, in his official capacity
    as Attorney General of the United
    States, et al.,

                                Defendants.


                                   JOINT STATUS REPORT

       The parties respectfully submit this joint status report on their continuing efforts to resolve

their differences over the subpoenas served on Defendants Barr and Ross, in their official

capacities, by Plaintiff, the Committee on Oversight and Reform of the U.S. House of

Representatives, in accordance with the parties’ joint status report of July 10, ECF No. 44. Since

their July 10 report, the parties have continued to confer concerning the additional documents

sought by the subpoenas, including certain documents identified by the Committee as “priority”

documents. The parties respectfully propose, therefore, that they update the Court again on their

efforts to reach an accommodation concerning these documents by not later than August 21, 2020.


                                              Respectfully submitted,

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July 31, 2020




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